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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0573V
                                          UNPUBLISHED


    LAURA HAUER,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: August 26, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


David John Carney, Green & Schafle LLC, Philadelphia, PA, for Petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On May 7, 2020, Laura Hauer filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) after receiving an influenza vaccine on November 30, 2017.
Petition at 1, ¶ 3. Petitioner further alleges that she received the vaccine in the United
States, that she continues to suffer the residual effects of the SIRVA more than six months
post-vaccination, and that neither she nor any other party has filed a civil action or
received compensation for her SIRVA. Id. at ¶¶ 3, 23-24. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

      On August 23, 2021, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for her SIRVA. On August 26, 2021, Respondent filed a proffer on award

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   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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of compensation (“Proffer”) indicating Petitioner should be awarded $80,551.47,
representing $77,500.00 for her pain and suffering and $3,051.47 for her unreimbursable
expenses. Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with
the proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled
to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $80,551.47, representing $77,500.00 for her pain and suffering and
$3,051.47 for her unreimbursable expenses in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

LAURA HAUER,                                         )
                                                     )
                       Petitioner,                   )
                                                     )
       v.                                            ) No. 20-573V
                                                     ) Chief Special Master Brian Corcoran
SECRETARY OF                                         )
HEALTH AND HUMAN SERVICES,                           )
                                                     )
                       Respondent.                   )
                                                     )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On August 23, 2021, respondent filed a Vaccine Rule 4(c) report concluding that

petitioner suffered a Shoulder Injury Related to Vaccine Administration (“SIRVA”) within the

Table timeframe following an influenza vaccination, which was compensable under the National

Childhood Vaccine Injury Act of 1986, as amended, 42 U.S.C. §§ 300aa-1 to -34. Accordingly,

on August 23, 2021, the Chief Special Master issued a Ruling on Entitlement.

I.    Items of Compensation

       Respondent proffers that petitioner should be awarded $77,500.00 for pain and suffering

and $3,051.47 for unreimbursable medical expenses. These amounts represent all elements of

compensation to which petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $80,551.47 in the form of a check payable to petitioner. 1 This




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.
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lump sum payment represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             HEATHER L. PEARLMAN
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             ALEXIS B. BABCOCK
                                             Assistant Director
                                             Torts Branch, Civil Division

                                             s/ LARA A. ENGLUND
                                             LARA A. ENGLUND
                                             Assistant Director
                                             Torts Branch, Civil Division
                                             U.S. Department of Justice
                                             P.O. Box 146 Benjamin Franklin Station
                                             Washington D.C. 20044-0146
                                             Tel: (202) 307-3013
                                             E-mail: lara.a.englund@usdoj.gov

Dated: August 26, 2021




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